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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:17-cv-60426-UU

  ALEKSEJ GUBAREV, et al.,

         Plaintiffs,

  v.

  BUZZFEED, INC., et al.,

        Defendants.
  ____________________________________/

                                             ORDER

         THIS CAUSE comes before the Court upon Plaintiffs’ Motion for Minor Modification of

  Court Order Concerning the Unsealing of Certain Uncontested Documents (D.E. 423) (the

  “Motion”).

         THE COURT has considered the Motion and the pertinent portions of the record and is

  otherwise fully advised in the premises.

         Plaintiffs misapprehend the contents of D.E. 228-2.     D.E. 228-2 is Nathan Siegel’s

  declaration authenticating 10 exhibits filed in opposition to Plaintiffs’ Motion for Summary

  Judgment. D.E. 228-2 is not Mr. Siegel’s declaration in support of Defendants’ Motion for

  Summary Judgment Concerning its Public Figure Defense. Accordingly, because Plaintiffs have

  not demonstrated good cause to modify the Court’s order unsealing documents by consent, it is

  hereby ORDERED AND ADJUDGED that the Motion, D.E. 423, is DENIED.

         DONE AND ORDERED in Chambers, Miami, Florida, this _31st_ day of January, 2019.

                                                     ________________________________
                                                     URSULA UNGARO
                                                     UNITED STATES DISTRICT JUDGE
  cc: counsel of record via cm/ecf


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